Case 2:24-cr-00026-EP Document1 Filed 04/29/22 Page 1 of 4 PagelD: 1

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA
CRIMINAL COMPLAINT
Vv.

Mag. No. 22-11147
CHRISTOPHER M. CODIO

I, Ryan F. Lane, being duly sworn, state the following is true and correct
to the best of my knowledge and belief:

SEE ATTACHMENT A
I further state that I am a Task Force Officer with the United States Drug
Enforcement Administration, and that this Complaint is based on the following
facts:
SEE ATTACHMENT B
Continued on the attached page and made a part hereof.
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f Kyan £. Lane

Ryan F. Lane, Task Force Officer
Drug Enforcement Administration

TFO Lane attested to this Complaint
by telephone pursuant to FRCP 4.1(b)(2)(A)
on April 29, 2022 in the District of New Jersey

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HONORABLE ANDRE M. HSPINOSA
UNITED STATES MAGISTRATE JUDGE

Case 2:24-cr-00026-EP Document1 Filed 04/29/22 Page 2 of 4 PagelD: 2

ATTACHMENT A

Count One
(Possession with Intent to Distribute Methamphetamine)

On or about April 28, 2022, in Bergen County, in the District of New Jersey
and elsewhere, the defendant,

CHRISTOPHER M. CODIO,

did knowingly and intentionally possess with intent to distribute 500 grams or
more of a mixture or substance containing a detectable amount of
methamphetamine, its salts, isomers, or salts of its isomers, Schedule II
controlled substance. '

In violation of Title 21, United States Code, Sections 841(a}(1) and
841(b)(1)(A).
Case 2:24-cr-00026-EP Document1 Filed 04/29/22 Page 3 of 4 PagelD: 3

ATTACHMENT B

I, Ryan F. Lane, am a Task Force Officer with the United States Drug
Enforcement Administration. I am fully familiar with the facts set forth herein
based on my own investigation, my conversations with other law enforcement
officers, and my review of reports, documents, and other items of evidence.
Because this Complaint is being submitted for a limited purpose, I have not set
forth each and every fact that I know concerning this investigation. Where
statements of others are related herein, they are related in substance and part.
Where I assert that an event took place on a particular date, I am asserting that
it took place on or about the date alleged.

1. Law enforcement has been involved in an investigation into a drug
‘trafficking organization (“DTO”) operating in New Jersey, New York, Mexico, and
elsewhere. The investigation revealed that the defendant Christopher M. Codio
(“CODIO”) is a member of the DTO.

2; From on or about April 22, 2022 through on or about April 26, 2022,
a confidential informant (“CI-1”) acting under the direction of law enforcement,
communicated telephonically with at least two other members of the DTO about
purchasing approximately ten pounds of methamphetamine. On or about April
26, 2022, one such DTO member informed CI-1 that another individual, who
was later identified as CODIO, would contact CI-1 about the drugs.

3. On or about April 27, 2022, CODIO, via a cellular phone (“the Codio
Phone”) sent a text message to CI-1. In response, CI-1 called the Codio Phone
and discussed with CODIO the aforementioned narcotics transaction. CODIO
told CI-1 that he would meet CI-1 at an agreed-upon location in Bergen County,
in the District of New Jersey (the “Meeting Location”) on or about April 28, 2022.

4. On or about April 28, 2022, after further telephonic communications
with CODIO, CI-1 proceeded to the Meeting Location.

5. Law enforcement surveilling the Meeting Location, observed CODIO
arrive, driving in a black Chevrolet Tahoe (the “Tahoe”) with a Massachusetts
Livery registration. Under the surveillance and direction of law enforcement,
CI-1 drove to the Meeting Location to meet with CODIO at the Meeting Location.

6. During the meeting, which was audio-recorded, CI-1 asked CODIO,
“where is it,?” referring to the drugs, and CODIO responded, “in my car, in the
back seat.” Subsequently, law enforcement observed CODIO retrieve a brown
bag from the Tahoe (the “Bag”)._ CODIO then asked CI-1, “where is the money?”

3
Case 2:24-cr-00026-EP Document1 Filed 04/29/22 Page 4 of 4 PagelD: 4

and CI-1 told CODIO that the money was in CI-1’s car.

Ts Then, CI-1 walked to CI-1’s car, and law enforcement approached
and arrested CODIO. During a search incident to CODIO’s arrest, law
enforcement recovered approximately $2,000.

8. Additionally, law enforcement seized the Bag, which was open and

saw that packages of suspected controlled substances were stored in open cereal
boxes. The Bag is depicted below:

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9. The recovered drugs field tested positive for the presence of
methamphetamine and weighed approximately 4.26 kilograms.
